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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA, Crim. No. 3:24-cr-00446-RIE
Plaintiff,
Vv. APPLICATION AND CONSENT
ORDER MODIFYING CONDITIONS
MOSHE SILBER, OF RELEASE
Defendant,

THIS MATTER having come before the Court on the joint application of the United
States (the “Government”) and Defendant Moshe Silber (“Mr. Silber”) for a modification of Mr.
Silber’s conditions of release;

WHEREAS, Mr. Silber was charged by information with one count of conspiracy to
commit wire fraud affecting a financial institution in violation of 18 U.S.C. 8 371;

WHEREAS, pursuant to a plea agreement with the Government (ECF No. 6), Mr. Silber
pled guilty to the above charge on July 9, 2024, and is awaiting sentencing, which sentencing is
currently scheduled for January 14, 2025;

WHEREAS, on July 9, 2024, the Court entered an Order that sets forth the conditions of
Mr. Silber’s release (ECF No. 8) (the “Release Order”);

WHEREAS, on December 2, 2024, via email, the Government submitted a letter brief to
the Court moving for revocation of Mr. Silber’s release, pursuant to 18 U.S.C. § 3148(b);

WHEREAS, Mr. Silber disputes both the factual accuracy and legal sufficiency of the
allegations in the Government’s motion seeking to revoke his release;

WHEREAS, after meeting and conferring with Mr. Silber’s counsel, the Government has
agreed to withdraw its motion, subject to the Court’s imposition of the mutually agreed-upon

additional conditions of release set forth below;

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WHEREAS, Pretrial Services (DNJ) consents to imposition of the additional conditions
of Mr. Silber’s release set forth below;
Ah,
IT IS on this YC day of December, 2024,
ORDERED that the Release Order is hereby modified to impose the following additional

conditions on Mr, Silber’s release:

e Mr. Silber is prohibited from participating in the commercial or residential real estate
business, including but not limited to managing property, financing the purchase or
renovation of property, or selling property (with the exception of the legal address
identified in the draft presentence report (“PSR”));

e Mr. Silber is prohibited from operating, managing, or advising any limited liability
company (“LLC”) named in the draft PSR;

e Mr, Silber is prohibited from operating, managing, or advising NB Affordable;

« Mr. Silber is prohibited from communicating with current and former employees of NB
Affordable;

e Mr. Silber is prohibited from raising capital, seeking loans, or obtaining financing on his
own behalf or on behalf of any business entity;

e Mr. Silber is required to notify lenders of a change in ownership, management, or control
of LLCs (or any other business entity) or properties he owned, controlled, or managed;

and

e Mr. Silber is required to seek approval from probation for reimbursements or loan draws
to entities owned, managed, or controlled by Mr. Silber,

IT IS FURTHER ORDERED that all other conditions of the Release Order shail

remain in effect,

Hon, i
United States Magistrate Judge

